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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISRICT OF GEORGIA
                             NEWNAN DIVISION

UNITED STATES OF AMERICA, et al. )
ex rel. LANCE ALBERTSON,         )
                                 )              Civil Action No.
                                 )              3:21-cv-46-TCB
          Plaintiff- Relator,    )
                                 )
v.                               )
                                 )
AGENDIA, INC.,                   )
                                 )
          Defendant.             )


                                     ORDER

      The United States having declined to intervene in this action pursuant to

the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the Court rules as follows:

      IT IS ORDERED that,

      1. the complaint be unsealed and served upon the defendant by the

relator;

      2. all other contents of the Court's file in this action remain under seal and

not be made public or served upon the defendant, except for this Order and The

United States' Notice of Election to Decline Intervention, which the relator will

serve upon the defendant only after service of the complaint;
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       3. the seal be lifted as to all other matters occurring in this action after the

date of this Order;

      4. the parties shall serve all pleadings and motions filed in this action,

including supporting memoranda, upon the United States, as provided for in 31

U.S.C. § 3730(c)(3). The United States may order any deposition transcripts and

is entitled to intervene in this action, for good cause, at any time;

      5. the parties shall serve all notices of appeal upon the United States;

      6. all orders of the Court shall be sent to the United States; and that

      7. should the relator or the defendant propose that this action be

dismissed, settled, or otherwise discontinued, the Court will solicit the written

consent of the United States before ruling or granting its approval.

      IT IS SO ORDERED, this 12th day of December, 2022.




                                           HON. TIMOTHY C. BATTEN
                                           CHIEF UNITED STATES DISTRICT JUDGE




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